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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                          |
                                                |
LATOSHA DEWAUN MATHIS,                          |      CHAPTER 7
                                                |
         DEBTOR                                 |      CASE NO. 20-70035-JWC
                                                |

                      MOTION TO DELAY ENTRY OF DISCHARGE

         Comes now the above Debtor, Latosha Dewaun Mathis, by and through counsel, and

shows to this Court the following:

                                               1.

         Debtor filed for relief under Chapter 7 of the United States Bankruptcy Code on

September 21, 2020 and the Meeting of Creditors was conducted on October 22, 2020.

                                               2.

         Pursuant to Rule 4004(c)(2), the court may delay entry of discharge for 30 days upon

motion of Debtor.

                                               3.

         The Chapter 7 Trustee has not completed his investigation of assets, specifically

regarding the value of her residence. Debtor requests that the discharge be delayed so as not to

complicate conversion to Chapter 13 should it be required.

                                               4.

         Debtor requests that Court enlarge the time to file the aforementioned reaffirmation

agreement to January 25, 2021.
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      WHEREFORE, the Debtor respectfully requests:

      1) that this Motion be granted delaying entry of discharge by 30 days to January 25,

2021; and

      2) that this Court grant any further relief as it deems just and appropriate.

      Dated: December 21, 2020

                                                 Respectfully Submitted,
                                                 JEFF FIELD & ASSOCIATES

                                                /s/ Christopher J. Sleeper
                                                 ____________________________________
                                                 CHRISTOPHER J. SLEEPER
                                                 Attorney for Debtor
                                                 State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
404-499- 2700
contactus@fieldlawoffice.com
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                         |
                                               |
LATOSHA DEWAUN MATHIS,                         |         CHAPTER 7
                                               |
         DEBTOR                                |         CASE NO. 20-70035-JWC
                                               |

                                  CERTIFICATE OF SERVICE

         I hereby certify that I have this day mailed a true and exact copy of the foregoing

“Motion to Delay Entry of Discharge” to the following:

S. Gregory Hays, Chapter 7 Trustee             Electronically

Latosha Dewaun Mathis
2623 Memory Lane
Douglasville, GA 30135

Creditors on the Attached
Mailing Matrix

by electronic service upon filing with the Court or by placing a copy of same in a properly

addressed envelope with sufficient postage affixed thereon to insure delivery and depositing

same in the United States Mail.

         Dated: December 21, 2020

                                               Respectfully Submitted,
                                               JEFF FIELD & ASSOCIATES

                                               /s/ Christopher J. Sleeper
                                                ____________________________________
                                                CHRISTOPHER J. SLEEPER
                                                Attorney for Debtor
                                                State Bar No. 700884
342 North Clarendon Avenue
Scottdale, GA 30079
404-499- 2700
contactus@fieldlawoffice.com
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Label Matrix for local noticing                Amex Document           Page 4 of 5           Amex/Bankruptcy
113E-1                                         Correspondence/Bankruptcy                     Correspondence/Bankruptcy
Case 20-70035-jwc                              Po Box 981540                                 Po Box 981540
Northern District of Georgia                   El Paso, TX 79998-1540                        El Paso, TX 79998-1540
Atlanta
Mon Dec 21 09:41:18 EST 2020
Barclays Bank Delaware                         Capital One                                   Capital One
P.o. Box 8803                                  Attn: Bankruptcy                              Po Box 30281
Wilmington, DE 19899-8803                      Po Box 30285                                  Salt Lake City, UT 84130-0281
                                               Salt Lake City, UT 84130-0285


Citibank/The Home Depot                        Comenity Bank/Lane Bryant                     Credit First National Association
Citicorp Credit Srvs/Centralized Bk dept       Attn: Bankruptcy                              Attn: Bankruptcy
Po Box 790034                                  Po Box 182125                                 Po Box 81315
St Louis, MO 63179-0034                        Columbus, OH 43218-2125                       Cleveland, OH 44181-0315


Credit One Bank                                (p)DISCOVER FINANCIAL SERVICES LLC            R. Jeffrey Field
Attn: Bankruptcy Department                    PO BOX 3025                                   Jeffrey Field & Associates
Po Box 98873                                   NEW ALBANY OH 43054-3025                      342 North Clarendon Avenue
Las Vegas, NV 89193-8873                                                                     Scottdale, GA 30079-1320


First Nataional Bank/Legacy                    Fnb Omaha                                     (p)GEORGIA DEPARTMENT OF REVENUE
Attn: Bankruptcy                               Attn: Bankruptcy                              COMPLIANCE DIVISION
Po Box 5097                                    Po Box 2490                                   ARCS BANKRUPTCY
Sioux Falls, SD 57117-5097                     Omaha, NE 68103-2490                          1800 CENTURY BLVD NE SUITE 9100
                                                                                             ATLANTA GA 30345-3202

Hsbc Bank                                      IRS Insolvency Unit                           Kohls/Capital One
Attn: Bankruptcy                               401 W. Peachtree St., NW                      Attn: Credit Administrator
Po Box 2013                                    Room 400, Stop 334-D                          Po Box 3043
Buffalo, NY 14240-2013                         Atlanta, GA 30308                             Milwaukee, WI 53201-3043


Marcus by Goldman Sachs                        Medical Data Systems (MDS)                    Nordstrom FSB
Attn: Bankruptcy                               Attn: Bankruptcy Dept                         Attn: Bankruptcy
Po Box 45400                                   2001 9th Ave Ste 312                          Po Box 6555
Salt Lake City, UT 84145-0400                  Vero Beach, FL 32960-6413                     Englewood, CO 80155-6555


Office of the United States Trustee            PRA Receivables Management, LLC               (p)SN SERVICING CORPORATION
362 Richard Russell Building                   PO Box 41021                                  323 FIFTH ST
75 Ted Turner Drive, SW                        Norfolk, VA 23541-1021                        EUREKA CA 95501-0305
Atlanta, GA 30303-3315


Syncb/PPC                                      Syncb/Pandora                                 Synchrony Bank
Attn: Bankruptcy                               Attn: Bankruptcy                              Attn: Bankruptcy Dept
Po Box 965060                                  Po Box 965060                                 Po Box 965060
Orlando, FL 32896-5060                         Orlando, FL 32896-5060                        Orlando, FL 32896-5060


Synchrony Bank/ JC Penneys                     Synchrony Bank/ Old Navy                      Synchrony Bank/Amazon
Attn: Bankruptcy                               Attn: Bankruptcy                              Attn: Bankruptcy
Po Box 965064                                  Po Box 965060                                 Po Box 965060
Orlando, FL 32896-5064                         Orlando, FL 32896-5060                        Orlando, FL 32896-5060
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Synchrony Bank/Gap                                   Synchrony Bank/Lowes Page 5 of 5
                                                          Document                                        Synchrony Bank/TJX
Attn: Bankruptcy Dept                                Attn: Bankruptcy                                     Attn: Bankruptcy
Po Box 965060                                        Po Box 965060                                        Po Box 965064
Orlando, FL 32896-5060                               Orlando, FL 32896-5060                               Orlando, FL 32896-5064


Target                                               United States Attorney                               Wells Fargo Bank NA
c/o Financial & Retail Srvs                          Northern District of Georgia                         Attn: Bankruptcy
Mailstop BT POB 9475                                 75 Ted Turner Drive SW, Suite 600                    1 Home Campus Mac X2303-01a
Minneapolis, MN 55440-9475                           Atlanta GA 30303-3309                                Des Moines, IA 50328-0001


Wells Fargo Bank NA
Po Box 14517
Des Moines, IA 50306-3517




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Discover Financial                                   Georgia Department of Revenue                        SN Servicing Corp.
Pob 15316                                            Compliance Division                                  323 Fifth Street
Wilmington, DE 19850                                 1800 Century Blvd., NE, S9100                        Eureka, CA 95501
                                                     Atlanta, GA 30345


End of Label Matrix
Mailable recipients      36
Bypassed recipients       0
Total                    36
